                    UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                           NORTHERN DIVISION

In Re:                                            )     Case No.: 19-80748-CRJ-13
                                                  )
         James R. Scruggs                         )     Chapter 13
          xxx-xx-9196                             )
         Pamela M. Scruggs                        )
          xxx-xx-4254                             )
            Debtors,                              )     Adversary Proceeding
                                                  )     No.:
                                                  )
                                                  )
Pamela M. Scruggs                                 )
                                                  )
                                                  )
               Plaintiff,                         )
         vs.                                      )
                                                  )
USDA Food & Nutrition Service                     )
                                                  )
               Defendant.                         )
                                                  )
                                                  )

    COMPLAINT SEEKING RELEASE OF WAGE LEVY PURSUANT TO
                    11 U.S.C. SECTION 362

               COMES NOW the Debtor, by and through her attorney and moves
         this Honorable Court to release the Wage Levy now pending on the Debtor’s
         Social Security benefits and for grounds therefore, set out as follows:

         1.    The Debtor filed a Chapter 13 Petition and relief was ordered on
               March 11, 2019.




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     2.    The following listed creditor filed a wage levy:

                 USDA Food & Nutrition Service
                 Alabama DHR Office of Claims Recovery
                 S Gordon Persons Building
                 50 Ripley Street
                 Montgomery, AL 36130

           The Debtor’s social security number is: xxx-xx-4254.

     3.    The Debtor receives social security benefits from and the garnishee is:

                 Social Security Administration
                 4970 Research Drive, N.W.
                 Huntsville, AL 35805

     4.    The Debtor claimed all future property as exempt.

     5.    The Debtor represents that the creditor's debt is not for alimony or
           child support obligation.

     6.    The Social Security Administration has been proposed in the Plan to
           be paid.

           WHEREFORE, PREMISES CONSIDERED, the Plaintiff prays
           that this Court:

           a.    Order Defendant to forthwith release the wage levy to the
                 Debtor;

           b.    Order such other relief as it just and proper.




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                                                Respectfully submitted,

                                                BOND, BOTES, SYKSTUS,
                                                TANNER & EZZELL, P.C.

                                                 /s/ Amy K. Tanner
                                                Ronald C. Sykstus
                                                Amy K. Tanner
                                                James W. Ezzell, Jr.
                                                Kathryn V. Davis
                                                Attorney for Debtor



OF COUNSEL:

BOND, BOTES, SYKSTUS, TANNER & EZZELL, P.C.
225 Pratt Avenue
Huntsville, Alabama 35801
(256) 539-9899

                       CERTIFICATE OF SERVICE

       I hereby certify that I have on this 8th day of April , 2019, served a
copy of the foregoing Complaint on Social Security Administration, 4970
Research Drive, NW, Huntsville, AL 35805, Social Security Administration,
1200 Rev Abraham Woods Jr. Blvd., Birmingham, AL 35285, Internal
Revenue Service, PO Box 7346, Philadelphia, PA 19101-7346, Richard E.
O’Neal, Assistant U.S. Attorney, Robert S. Vance Federal Building, Room
200, 1801 4th Avenue, North, Birmingham, Alabama 35203, William Barr,
Attorney General, U.S. Department of Justice, Tax Division, 950 Pennsylvania
Avenue, N.W., Washington, D.C. 20530, US Department of Treasury, Bureau
of the Fiscal Service, PO Box 1686, Birmingham, AL 35201-1686, USDA Food
and Nutrition Service, Alabama DHR Office of Claims Recovery, S Gordon
Persons Building, 50 Ripley Street, Montgomery, AL 36130 and Michele T.
Hatcher, Chapter 13 Trustee, by mailing the same by United States mail
properly addressed and First Class Postage prepaid.
                                                   /s/ Amy K. Tanner
                                                   OF COUNSEL



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